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United States District Court
Eastern District of Arkansas
Delta Division
Gabriel Gonzalez
Plaintiff, Pro Se

Case Number
2:20-CV-00083-BSM-JIK

DeWayne Hendrix, Warden
Respondent

Brief in support of § 2241 Motion

Gabriel Gonzalez asks this honorable court to accept this brief and to consider
the additional points and facts presented with his previously submitted litigation.
This brief is made to incorporate information relevant and significant to
the execution of sentence issues brought forth in this litigation. The information
and exhibits presented are relevant because they further support and demonstrate
the veracity of the claims set forth in Gonzalez’ original petition. The information
is significant because the cogency and character of these facts cast a truly mephitic
befouling of our traditional notions of just punishment and these transgressions

may well be determined as an affront to the integrity of our noble justice system.

Discussion

I. The BOP engaged in a clandestine research project using its prisoners as
human research subjects in order to examine the pathology of the SARS-CoV-2
virus.

a. The Morbidity and Mortality Weekly Report (MMWR) is a publication produced
by the Center for Surveillance, Epidemiology and Laboratory Services, the Centers

for Disease Control and Prevention (CDC), and the U.S. Department of Health and
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Human Services. This section draws information and facts from the MMRW vol. 69,
No. 33 published 8/21/20. (Exhibit 1 (in part)).

From the inception of the U.S. SARS-CoV-2 (COVID-19) endemic, the BOP and
CDC have united efforts to observe, research, and study the presence, proliferation,
and vectorial attributes of the disease in populations believed to be at greater ~
risk and vulnerability to contracting, transmitting, or experiencing severe injury
or death from exposure to the contagion. These populations include, but are not
limited to; Nursing Homes for the elderly, federal prisons and some State jail facilities,
and to workplace outbreaks involving the manufacturing and production industry sectors.
The latter category was also studied for racial and ethnic disparities found amongst

those various sectors.

b. On 3/31/20 the prison at FCI Forrest City, including other prisons within
the sphere of the BOP, were locked-down in response to the burgeoning viral spread
within the prison's network of facilities.

In April/May 2020, FCIFC began construction of M.A.S.H.-style Haz-Mat tents,
portable ventilation systems, trailered shower units, and a variety of other extemporary
fabrications and facilities to accommodate their model scheme to observe and explore
the spread of SARS-CoV-2 amongst the prison population.

On May 13, 2020 Gonzalez, and others similarly sii.uated, were administered
' a Nasopharyngeal exam by CDC personnel. This was done in lieu of being placed among
the hordes of COVID-19 infected prisoners held in other areas of the prison. Reassignment
to infected quarters was the standard response for those who refused to participate
in the "voluntary" testing. (Exhibit 2).

After reportedly testing positive, on May 20,2020 Gonzalez was placed in a
dormitory with other infected prisoners. During the course of his stay, up to and
including the present date, Gonzalez remains in quarantine and has repeatedly requested

to be given medical treatments, examinations, and pharmaceuticals for his COVID-19
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symptoms. (see previously submitted Health Services email request exhibits). These
symptoms have included many of those symptoms listed on the CNC's chart of COVID-19
related symptoms. Gonzalez has filed several formal sick-call requests seeking
care for his infection. To date, Gonzalez is still waiting for his requested care.
The only care he has received has been the 3 weeks of community temperature charting
performed in May and June, 2020. These daily checks were ultimately eliminated
en masse for his housing unit after the first few weeks.

Gonzalez still suffers endivzing physiological decline due to his COVID-19
infection and forced participation in the BOP/CDG study program. He fears he is
likely to incur permanent injury as a result of his mistreatment and progression

of his infection(s) despite his efforts to self-treat his symptoms.

c. The prevalent theme of this study appears to center on frequency of testing
practices as it relates to prevention and mitigation planning. This could explain
why it was necessary for the prison to arrange multiple quarantine sites, each having
its own unique set of characteristics, while layering (or withholding) intervals
of care, monitoring the progression of infections, or other observational study
activities performed upon the various groups of inmates. But, even the MMWR writes
critically about how prisoners, as a class, were placed in peril by this study project.

The author opines:

"Additional studies should examine whether timing of mass testing
influences its effectiveness in facilitating outbreak containment."

This very opinion is made apparent in comparison with the disparate testing
that was offered to the residents of the nursing facilities.
The author shows by reference that the collateral study "involving five Health

Department jurisdictions that conducted facility-wide testing in 88 nursing homes
that had already identified at least one case.'"' (showing a 1.0/ratio of infections).
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The findings from this collateral study concluded that "facility-wide testing

' This is because

early in an outbreak can be an effective mitigation strategy.’
the early mass testing was observed to have quelled further infection resulting

in a 1.3/ratio of infections using mass testing protocols. (MMWR/Aug. 21, 2020/

vol. 69/No. 33, p.1141).

Sadly, this finding supports the conclusion that prisoners were specifically
selected for exclusion from receiving mass testing using these readliy available
test kits, but were instead used as human guinea pigs, left to suffer the natural
course of the disease made inescapable by their incarceration and by the prison's
demonstrated reluctance to provide medical care, treatment, or meaningful examinations
while the study was in effect; and beyond.

It is indisputable that this form of uninformed participation in a human-subiect
research project is an unreasonable punishment against the vulnerable prisoner class.
Without alternative, Gonzalez was made to undergo this experiment. as an additional
layer of punishment to the already excessive condition that he be subjected to exposure
to an incurable lethal hazard. The only difference being that it is the BOP, et
alia, who have introduced the exacerbating conditions and then irtentionally withheld
treatment for the illnesses and physical impairments thev have caused. Perhaps
these events shall one day result in a Nurembure-styled trial te fully uncover the
truth of what transpired at FCTFCG and the BOP. Until that day, Gonzalez puts forth
this formal objection to his treatment and punishment for this court's remedial

review.

II. The dangerous nature of COVID-19 continues to advance creating new dangers
and upheaval .

a, California EPA moratorium lifted
On or about 1/19/21 the State of California lifted its FPA moratorium banning

production of high levels of air pollution so that it could accommodate vastly greater
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numbers of human cremations. This comes at a time when the number of citizens with

COVIN-19 in the State exceed 1 million infected. How much more so will the number

of infected or prisoner deaths be knowing they are exponentially more likely to

become infected and die from the additional punishment of forced exposure to the virus?
This ongoing event, coupled with the ROP's unwillingness or debility to restrain

the virus, can only be defined and understood for what it has plainly become; a

comlition which compounds one's statutory carceral punishment into an excessive

sentence impermissible under this nation's laws and Constitution.

b. The second surge of COVIN-19 infections are just the beginning.

While the prison at FCI Forrest City experiences its second (arguably its third)
major wave of prisoner and staff COVTN-19 infections, several other strains have
emerged and are threatening imminent. invasion with force greater than that of the

original SARS-CoV-2 strain. The U-K:. strain, the South African strain, and the

 

South American strain are steadily gaining an invasive foothold on our soil and
experts agree that current vaccinations are ineffective to control these resistant
variants. Not only do these new strains possess qualities rendering modern medicine
ineffective, they have been shown to be much more aggressive in efficacy and potency
than previous variants. Prisoners now face not only an inescapable heighthened
threat from the original SARS-CoV-2 strain, but will now also endure several more

formidable variants of the already deadly Coronavirus.
c. BOP line.personnel are collaterally affected.
The MMWR study involving incarcerated or detained persons extends to adversely

include prison staff by creating two broad hazardous aspects. First, staff members

are themselves susceptible to contracting the COVID-19 infection by virtue of their
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exposure to prisoners whe have been forced into poorly operated communal living
conditions. The lack of hygiene supplies, unsanitary conditions, and lack of medical
care serve to accelerate the conveyance of this contagion. Secondly, staff members
who have even brief, yet repeated, exposures with the prisoners in any of the prison's
study-designed quarantine areas, may serve as mobile vectors of the disease thus
transmitting the COVJD-19 virus to outlier prisoners over the course of these brief
encounters. (MMWR 10/30/20, 69(43): 1569-1570). To make matters worse, these vectorial
staff members then become likely to infect their families and surrounding communites,
all because their work environment at the prison was made unsafe bv the parameters

of the research project while these conditions continue to be observed and studied

by authorities who kept their surveillance goals secret and who may intentionally
restrain efforts to keep participatory prisoners safe and medically protected in

order to further advance their research project objectives.

III. The BOP and CDC have failed to protect the prisoners used in their research
project and have created additional, albeit excessive, punishment factors
that affect Gonzalez’ sentence and which are prohibited by the mandates governing
Iuman research subjects.

a. 45 (C.F.R. 46-Protection of Human Research Subiects.

The National Commission for the protection of human subiects of biomedical
and behavioral research has put forth standardized criteria on this subiect, more
commonly known as the Belmont Report. Much of the criterion used in the Belmont
Report is used and developed in 45 C.F.R. part 46 and has applicability to this
matter now before the court. The rules and particulars governing the protection
of human research subjects are far too volumineus for recitation here, but Gonzalez

wishes to reference several points which have practical application to this case.

1. 45 GFR part 46 applies to research that ‘involves a category of subjects
that [are] vulnerable to coercion or undue inluence, such as...prisoners."(46.107

et alibi).
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2. An Institutional Review Board (IRR) must approve all research projects using
human subjects prior to initiation of such research. (46.103, et al).

3. The use of prisoners in research does not fall within the scope of exceptions
under Public Health Surveillance activities. (46.102(i)(2), et al).

4. Exemptions to the use of prisoners in research apply only when the research
is aimed at involving a broader subiect population that only incidentally
includes prisoners. (46.102(h)(2)).

5. An informed consent or waiver of documentation of consent must be obtained
prior to initiation of research involving prisoners. (46.117, et al).

It appears most; if not all, of the above mandates have been ignored by the
BOP and CDC in their use of Gonzalez, and others, as human research subject in their
study project. Gonzalez has previously made his court aware of this study project
in his declaration filed on or about April, 2020 (see p.2 of Declaration of Gabriel
Gonzalez, 04-CR-1189(A), last item noted). Additional documents referencing this

ongoing research project are found in Exhibit 2:

. pg.1 referencing a "BOP proiect"
° pg.2 showing quarantine mandates
: pg.3 referencing a mysterious “outside source" and "voluntary participation"

of inmates "to analyze the various aspects of transmission and examine
testing strategies"

° pgs. 4-/ indicating the reallocation and reassignmetn of priscners to various
test dorms.

Conclusion

The means and menner of the sentence which Gonzalez now serves falls squarely

within the excessive sentence definition. (see Rlack's Law Dictionary: "A sentence

that gives more punishment than is allowed by law). Had Gonzalez known that his
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sentence would include eneluctable exposure to a lethal, viral hazard for which
there is no cure, he would have received the necessary notice that anv conviction
he received would have been one inclusive of arbitrary death. But, when this
punishment-phenomenon is evaluated against our current juridical practice and Supreme
Court jurisprudence, we find this circumstance in conflict with precedents avowing,
adopting, and conforming carceral conditions with the evolving standards of decency
that mark the progress of a maturing society. (Trop v. Dulles 356 U.S. 86, 101).
History certainly cannot offer a legislative parallel to the kind of punishment
extant under COVID-19 exposure within the ROP and we can be certain that exposure
to biological hazards will never become part of our legitimate penological scheme.
Gonzalez has also shown the BOP and DOJ intentionally increased his sentence
in a manner which exceeds that purishment promilgated by our legislature and that

which was imposed by the sentencing court. Some of these factors include:

1. Lack of protection: both from exposure to the virus and by the BOP's
unwillingness to issue full PPE gear, hygiene supplies, and enough nutrition
and exercise to maintain a healthy condition,

2. Lack of medical care; The unwillingness or inability te provide pharmaceuticals,
examinations, or treatments for less than severe cases and the rote denial
of care by directing prisoners to self-treat using the prison commissarv OTC
medications,

3, Intentional apathy; is demonstrated by the numerous deprecatory email responses
chastising Gonzalez for asking for help and directing him to seek medical
care from the prison's Trust Fund staff,

4. Forced study participation: The deliberate segregation into wholly viral
communities coupled with SHIJ-like conditions and no medical care likely exacerbate

already dangerous circumstances,
5: Punitive conditions; The placement inthe prison's woodshop, recreation

warehouse, or other non-domiciliarv outlier buildings often result from complaining
about COVIN-19 svmptoms.

These five factors, while actionable individually and separately, certainly

compound and aggravate the already pernicious transformative ex post facto sentence

Gonzalez now serves, This Circuit has a history of standing firm against such abuses
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against prisoners, expecially when obdurance and wantonness form the basis of the
abuse. (see Hutto v. Finney 429 U.S. 103, also DeShaney v. Winnebago City Department
of Social Services 439 U.S. 189, 198-200 (1989)).

The addition of these punishments and other punitory excesses are neither
short term nor one time. Instead, they serve to form and establish a continuing
and systemic proviso for unlegislated punishment(s) under the guise of lack of funding,
lack of resources, lack of technical assistance, or anv other of the myriad deflections
and disinformation touted by the custodians of those oppressed prisoners. Prison
personnel and prisoners alike share the dangers inherent in this exposure-infection-
and reinfection prison climate and matters will certainly escalate as the U.K.,
S. African, and S. American strains invade our prison(s).

Undoubtably, COVIN-19 and its progeny are beyond containment or prevention
by the BOP, but further harm is avoidable with this court's intervention. Given
the opportunity, even if it were temporarily to shelter at home or some similar
alternative, Gonzalez could avoid what is sure to be the demise of his vhysiological ~~
system(s) or which will serve to be an early termination of his life.

In an era where our laws comport with the wisdom of Estelle v. Gamble (429 U.S. ~—
97), Helling v. McKinney (509 U.S. 25), Wilson v. Seiter (501 U.S. 294), and Farmer
v. Brennan (511 U.S. 825), our jurisprudence consistently opposes regimes rife with
persistent and malicious cruelty and obdurate and wonton malice against prisoners.

ir Constitution even incorporates a stand-alone Amendment to serve as a bulwark

to the very excessive punishments and conditions as listed above which serve no
legitimate penological interests. Perhaps that is why the ACLU leadership Conference
on Civil and Human Rights has recently petitioned congressional leaders to effect
changes aimed at providing prisoners with greater COVTN-19 protections through
alternative incarceration options. (Exribir 2),

Gonzalez prays this honorable court finds the excesses and atrocities described

herein to be violative fo the Constitution and laws of the United States, finds
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that Gonzalez now suffers an excessive and unconstitutional sentence based en the

above, and grants him relief from his sentence and any other relief this court finds

to be proper and just.

Verification

I have read the foregoing Brief in support of § 2241 motion and hereby verify
that the matters alleged herein are true, except as to matters alleged on information
and belief, and as to those, I believe them to be true and correct. Executed at
Forrest City, Arkansas on this 23rd day of January, 2020.

  

Gabriel Gonzalez
Plaintiff, Pro Se

Certificate of Service

Tt certify under the penalty of perjury that the foregoing Brief in support
of § 2241 Motion was placed in the prison's internal mail system, postage pre-paid,
for service upon this court via U.S. mail on this 23rd day of January, 2020 te 600
W. Capitol Avenue Rm. A-149 Little Rock, Arkansas 72201. Gonzalez asks this court's
clerk to serve all other interested narties via electronic notification and to serve
him with a stamped filed copy of this motion.

Gabriel Gonzalez
Plaintiff, Pro Se
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Morbidity and Mortality Weekly Report

Mass Testing for SARS-CoV-2 in 16 Prisons and Jails — Six Jurisdictions,
United States, April-May 2020

Lies] M. Hagan, MPH!; Samantha P. Williams, PhD’; Anne C. Spaulding, MD2-3, Robin L. Toblin, PhD4; Jessica Figlenski, MPH#;
Jeanne Ocampo?; Tara Ross*; Heidi Bauer, MD>; Justine Hutchinson, PhD>; Kimberley D. Lucas, MPH5S; Matthew Zahn, MDS;
Chun Chiang, MD*; Timothy Collins, MPHS; Alexis Burakoff, MD’; Juli Bettridge’; Ginger Stringer, PhD’; Randolph Maul, MD5; Kristen Waters®:
Courtney Dewart, PhD?:!9; Jennifer Clayton); Sietske de Fijter, MS?; Radha Sadacharan, MD!2-13; Linda Garcia, MPH!4; Naomi Lockett, MD!3;
Kirstin Short, MPH!4; Laxman Sunder, MD!3; Senad Handanagic, MD!

Preventing coronavirus disease 2019 (COVID-19) in cor-
rectional and detention facilities* can be challenging because
of population-dense housing, varied access to hygiene facili-
ties and supplies, and limited space for isolation and quaran-
tine (/). Incarcerated and detained populations have a high
prevalence of chronic diseases, increasing their risk for severe
COVID-19-associated illness and making early detection criti-
cal (2,3). Correctional and detention facilities are not closed
systems; SARS-CoV-2, the virus that causes COVID-19,
can be transmitted to and from the surrounding community
through staff member and visitor movements as well as entry,
transfer, and release of incarcerated and detained persons (/).
To better understand SARS-CoV-2 prevalence in these set-
tings, CDC requested data from 15 jurisdictions describing
results of mass testing events among incarcerated and detained
persons and cases identified through earlier symptom-based
testing. Six jurisdictions reported SARS-CoV-2 prevalence of
0%-86.8% (median = 29.3%) from mass testing events in
16 adult facilities. Before mass testing, 15 of the 16 facilities
had identified at least one COVID-19 case among incarcerated
or detained persons using symptom-based testing, and mass
testing increased the total number of known cases from 642
to 8,239. Case surveillance from symptom-based testing has
likely underestimated SARS-CoV-2 prevalence in correctional
and detention facilities. Broad-based testing can provide a more
accurate assessment of prevalence and generate data to help
control transmission (4).

In May 2020, CDC requested data from 15 jurisdictions (the
Federal Bureau of Prisons [BOP], 10 state prison systems, and
four city or county jails), describing SARS-CoV-2 mass testing
events! and cases identified before mass testing. Jurisdictions

* Correctional facilities refer to state and federal prisons that incarcerate persons
who have been tried for a crime, convicted, and sentenced for a duration of
21 year. Those convicted of federal crimes are incarcerated in federal prisons;
those convicted of state crimes are incarcerated in state prisons. Detention
facilities refer to jails or detention centers (including immigration detention
centers) that temporarily detain persons awaiting trial, sentencing, or
deportation, or those with a sentence of <1 year.

t Mass testing consisted of offering reverse transcription—polymerase chain
reaction (RT-PCR) testing to all persons incarcerated or detained in at least
one housing unit of a correctional or detention facility at a single point in time,
irrespective of presence or history of symptoms.

US Department of Health and Human Services/Centers for Disease Control and Prevention

were selected based on previous discussions with investigators
about mass testing events that had already occurred. Six juris-
dictions provided data from 16 adult facilities, including the
number of COVID-19 cases identified among incarcerated or
detained persons and staff members before mass testing and
findings from subsequent mass testing events’ among incarcer-
ated or detained persons. Data describing mass testing of staff
members were not available. One jurisdiction also provided
results of retesting among quarantined close contacts of per-
sons with COVID-19, 7 days after their initial negative test
result from mass testing. All jurisdictions provided qualitative
information describing testing practices before mass testing,
actions taken based on mass testing results, and barriers to
future broad-based testing. SARS-CoV-2 prevalence was cal-
culated within each facility and by housing type. The numbers
of known cases before and after mass testing were compared.
Qualitative data were summarized. All analyses were descrip-
tive; significance testing was not performed. This investigation
was reviewed by CDC for human subjects protection and
determined to be nonresearch.$

Six of the 15 queried jurisdictions (BOP, three state prison
systems, and two county jails) provided aggregate, facility-level
data representing 16 adult facilities (11 state prisons, three fed-
eral prisons, and two county jails). From the beginning of the
COVID-19 pandemic until the date of their respective mass
testing events, four facilities limited testing among incarcerated
or detained persons to those with symptoms, and 12 also tested
close contacts; six facilities tested small numbers of symptomatic
staff members, and 10 advised staff members to seek testing from
their own health care providers or health department.

All 16 facilities had identified at least one case through
symptom-based testing before mass testing was conducted;
the first case was identified among staff members in nine
facilities, among incarcerated or detained persons in six, and
in both groups the safe day in one. One facility identified

S$ Data elements collected included mass testing dates, facility census during
testing, number of persons tested, number who declined, housing arrangements
of persons tested, and test results.

SUS. Department of Health and Human Services, Title 45 Code of Federal
Regulations 46, Protection of Human Subjects.

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a case only among incarcerated or detained persons (no staff
member cases), and one facility identified a case only among
staff members. The number of cases identified using symptom-
based testing ranged from 0 to 181 (median = 19) among
incarcerated or detained persons and 0 to 257 (median = 10)
among staff members.

Mass testing in the 16 facilities was conducted during
April 11—May 20. The interval between identification of the
first symptomatic case and the start of mass testing ranged
from 2 to 41 days (median = 25 days). Across facilities, 16,392
incarcerated or detained persons were offered testing, represent-
ing 2.3%-99.6% (median = 54.9%) of facilities’ total popula-
tions; 7,597 previously unrecognized infections were identified
(Table). All 15 facilities that had identified at least one case
among incarcerated or detained persons through earlier symp-
tom-based testing identified additional cases through mass test-
ing (range = 8-2,179; median = 374). Mass testing increased
total known cases from 642 (range = 2-181, median = 19)
before mass testing to 8,239 (range = 10—2,193, median = 403)
after mass testing (Figure), representing a 1.5—157-fold increase
(median 12.3-fold) in each facility. The single facility that had
identified no cases among incarcerated or detained persons
before mass testing also found no cases during mass testing;
with this facility included, the median fold-increase in total
known cases after mass testing decreased slightly to 12.1-fold.
In the 16 facilities, SARS-CoV-2 prevalence found during mass
testing among incarcerated or detained persons ranged from
0% to 86.8% (median = 29.3%). Testing refusal rates ranged
from 0.0% to 17.3% (median = 0.0%) (Table).

In addition to aggregate facility-level data, four of six jurisdic-
tions provided mass testing data from 85 housing units within
12 of the 16 facilities. Forty-eight housing units were dormitory-
based (open, communal spaces housing 63 to 216 persons in
one room), and 37 were cell-based (with locked cells housing
one to eight persons each). SARS-CoV-2 prevalence ranged from
1.8% to 45.0% (median = 14.6%) in cell-based units and 0%
to 77.2% (median = 42.6%) in dormitory-based units.

In two federal prisons, all persons who had tested nega-
tive during mass testing events and had subsequently been
quarantined as close contacts of persons testing positive were
retested after 7 days. At retesting, 90 of 438 (20.5%) persons
in BOP prison 2 and 84 of 314 (26.8%) in BOP prison 3 had
positive test results.

Jurisdictions reported that mass testing results helped them
construct medical isolation cohorts for persons testing posi-
tive and quarantine cohorts for their close contacts to prevent
continued transmission. In some jurisdictions, results informed
targeted testing strategies among asymptomatic persons in
facilities where mass testing had not yet occurred (e.g., rou-
tine testing at intake, release, and before community-based

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appointments, and periodic testing of those assigned to
work details requiring movement between different facility
areas, such as food or laundry service). Jurisdictions reported
that mass testing required large investments of staff member
time and operational resources, and that the ability to rear-
range housing based on test results was sometimes limited
by space constraints. Jurisdictions stated that evidence-based
recommendations about a potential role for less time- and
resource-intensive testing (e.g., point-of-care antigen or anti-
body testing) and swabbing methods could help them expand
testing in the future.

Discussion

High SARS-CoV-2 prevalence detected during mass testing
events in a convenience sample of correctional and detention
facilities suggests that symptom-based testing underestimates
the number of COVID-19 cases in these settings. Mass test-
ing resulted in a median 12.1-fold increase in the number of
known infections among incarcerated or detained persons in
these facilities, which had previously used symptom-based
testing strategies only.

Symptom-based testing cannot identify asymptomatic
and presymptomatic persons,** who represent an estimated
40%—-45% of infected persons across settings (5). Symptom-
based testing might also be limited by hesitancy to report
symptoms within correctional and detention environments
because of fear of medical isolation and stigma (6). In the
facilities included in this analysis, mass testing allowed
administrators to medically isolate infected persons irrespective
of symptoms and to quarantine their close contacts to reduce
ongoing transmission. Testing refusal rates in these facilities of up
to 17.3% highlight the need to communicate the importance of
testing and address fear and stigma, with care to tailor messages to
cultural and linguistic needs, and to develop strategies to reduce
transmission risk from persons who decline testing.

High SARS-CoV-2 prevalence among persons quarantined
and retested 7 days after an initial negative result indicates that
curbing transmission in correctional and detention environ-
ments might require multiple testing rounds, coupled with
other recommended prevention and control measures (7).
Test-based release from quarantine could also be warranted.
Serial testing among quarantined contacts of infected persons
in a Louisiana correctional and detention facility found a 36%
positivity rate 3 days after an initial negative result, indicating
that a short retest interval could improve case identification (8).

** Presymptomatic persons are those who are infected with SARS-CoV-2 and
do not have symptoms at the time of testing, but who develop symptoms
later. Asymptomatic persons ate those who are infected with SARS-CoV-2
but never develop symptoms. Both presymptomatic and asymptomatic persons
can transmit the virus to others.

US Department of Health and Human Services/Centers for Disease Control and Prevention

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Morbidity and Mortality Weekly Report

TABLE. Results of SARS-CoV-2 mass testing events* among incarcerated or detained persons in 16 prisons and jails — six jurisdictions, United

States, April-May 2020

 

 

No. of days Total persons
between incarcerated
identification or detained in Type of housing

offirstcase the facility No. (%) who No. with No. (%) in tested units

and startof duringmass No. (%) offered declined interpretable testing (open dorm,
Jurisdiction/Facility masstestingt _testing® testing® testing No. (%) tested results positive cells, or both)**
Federal Bureau of Prisons*t
Prison 1 25 1,534 957 (62.4) 166 (17.3) 791 (82.7) 786 566 (72.0) Open dorm
Prison 2 39 1,247 1,236 (99.1) 0 (0.0) 1,236 (100) 1,157 893 (77.2) Open dorm
Prison 3 21 1,070 997 (93.2) 0 (0.0) 997 (100) 992 551 (55.5) Both
California
Prison 1 27 3,175 257 (8.1) 39 (15.2) 218 (84.8) 217 34 (15.7) Cells
Prison 2 18 3,739 441 (12.0) 6 (1.4) 435 (98.6) 433 8 (1.8) Cells
Prison 3 2 2,325 54 (2.3) 0 (0.0) 54 (100) 54 23 (42.6) Open dorm
Prison 4 41 3,419 2,153-(63.0) 15 (0.7) 2,138 (99.3) 2,128 371 (17.4) Both
Prison 5 34 1,565 740 (47.3) 4 (0.5) 736 (99.5) 736 99 (13.5) Cells
Prison 6 NA 3,327 92 (2.8) 0 (0.0) 92 (100) 92 0 (0.0) Open dorm
Colorado
Prison 1 28 2,340 2,296 (98.1) 1 (<0.01) 2,295 (99.9) 2,262 375 (16.6) Cells
Prison 2 5 1,704 299 (17.5) 0 (0.0) 299 (100) 297 35 (11.8) Cells
Ohio
Prison 1 7 497 442 (88.9) 0 (0.0) 442 (100) 442 94 (21.3) Both
Prison 2 12 2,521 2,510 (99.6) 0 (0.0) 2,510 (100) 2,510 2,179 (86.8) Both
Prison 3 7 2,024 Unknown Unknown 1,846 1,846 1,476 (80.0) Both
Orange County, California
dail 1 34 3,167 1,002 (31.6) 0 (0.0) 1,002 (100) 1,002 374 (37.3) Both
Texas
Jail 1 27 7,800 1,070 (13.7) 0 (0.0) 1,070 (100) 1,070 519 (48.5) Both
Total - 41,454 16,392 (39.5) 231 (1.6) 16,161 (98.6) 16,024 7,597 (47.4) —

 

* Mass testing was defined as offering SARS-CoV-2 testing by reverse transcription—polymerase chain reaction (RT-PCR) to all incarcerated or detained persons in at
least one housing unit of a jail or prison, irrespective of presence or history of symptoms.

t The first COVID-19 case in each facility was identified using a symptom-based approach.

§ The highest number of incarcerated or detained persons in the facility on a single day during the mass testing event.

* Some facilities offered SARS-CoV-2 testing to incarcerated or detained persons in all housing units. Others offered testing in selected housing units based on criteria
including whether units had already identified cases, housed a large number of persons with underlying health conditions, or housed persons who were assigned
to work details that required movements across the facility (e.g., food or laundry service).

** Open dorm units in these facilities housed from 63 to 216 persons in one space where they could interact freely. Cell-based units were comprised of locked cells

housing from one to eight persons each.

tt The Federal Bureau of Prisons (BOP) has jurisdiction over federal prisons across the United States. The three BOP facilities with data presented here are located in

three different states.

This analysis can inform testing practices in correctional
and detention facilities in at least three areas. First, testing staff
members at regular intervals, regardless of symptoms, could
become an important part of facilities COVID-19 prevention
and mitigation plans, in collaboration with relevant stakehold-
ers, including labor unions. In this study, more than half of
the facilities identified their first case among staff members,
consistent with previous CDC findings that staff members
can introduce the virus into correctional and detention envi-
ronments (9). Second, in descriptive analyses, the median
prevalence of SARS-CoV-2 was nearly three times higher in
dormitory-based housing units (42.6%) than in cell-based
units (14.6%), suggesting that housing configuration might
contribute to transmission. Further study is warranted to deter-
mine whether more frequent testing could reduce transmission
in dormitory-based housing. Third, these mass testing events

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occurred 2—41 days after identification of the facilities’ first
cases. Additional studies should examine whether timing of
mass testing influences its effectiveness in facilitating outbreak
containment. In a study involving five health department
jurisdictions that conducted facility-wide testing in 88 nursing
homes that had already identified at least one case, an esti-
mated 1.3 additional cases were identified for each additional
day between identification of the first case and completion of
facility-wide testing, indicating that facility-wide testing early
in an outbreak can be an effective mitigation strategy (10).
The findings in this report are subject to at least six limita-
tions. First, these facilities represent a convenience sample and
are not representative of all U.S. correctional and detention
facilities. Second, because facilities’ decisions to conduct mass
testing might be based on differing population characteristics,
epidemiologic factors, and policy considerations, statistical

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FIGURE. COVID-19 cases identified among incarcerated or detained persons during mass testing events (April-May) and through symptom-
based testing (January-April) in 16 prisons and jails — six U.S. jurisdictions, 2020

 

Ohio prison 2
Ohio prison 3

BOP prison 2

BOP prison 1

BOP prison 3
Texas jail 1
Colorado prison 1

Orange County jail 1

Facility

California prison 4
California prison 5

Ohio prison 1
Colorado prison 2
California prison 1
California prison 3
California prison 2

California prison 6

 

( No. of cases identified before mass testing
(symptomatic persons and certain close contacts)

Bl No. of cases identified during mass testing
events (symptomatic and asymptomatic persons)

 

 

500

1,000

T T T
1,500 2,000 2,500

No. of cases

Abbreviations: BOP = Federal Bureau of Prisons; COVID-19 = coronavirus disease 2019.

significance testing was not performed. Third, the number
of cases identified through mass testing might be higher in
facilities where mass testing occurred closer to the peak of an
outbreak (a factor that could not be determined with available
data), or in facilities that tested a higher proportion of their
population. Fourth, data regarding symptoms reported dur-
ing mass testing were unavailable, preventing calculation of
the percentage of persons with positive test results who were
symptomatic. Fifth, cases among staff members identified
before mass testing are likely underestimated because most
facilities relied largely on self-reporting. Finally, it is uncertain
whether the housing unit where a person with COVID-19 was
tested was the location where exposure occurred,

Challenges in practicing physical distancing and other pre-
vention strategies within correctional and detention facilities
place persons in these settings, many of whom have chronic
diseases, at high risk for SARS-CoV-2 exposure. This analysis

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demonstrates that mass testing irrespective of symptoms,
combined with periodic retesting, can identify infections and
support prevention of widespread transmission in correctional
and detention environments. Further research is warranted to
refine strategic testing approaches that individual facilities can
implement, based on local needs and resources, to contribute
to COVID-19 mitigation.

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Corresponding author: Lies] Hagan, vqf8@cdc.gov.

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Summary
What is already known about this topic?

SARS-CoV-2 outbreaks in correctional and detention facilities are
difficult to.contain because of population-dense housing and
limited space for medical isolation and quarantine. Testing in
these settings has often been limited to symptomatic persons.

What is added by this report?

Mass testing in 16 U.S. prisons and jails found SARS-CoV-2
prevalence ranging from 0%-86.8%, a median 12.1-fold increase
over the number of cases identified by earlier symptom-based

testing alone. Median prevalence was three times higher in
dormitory-based than in cell-based housing.

What are the implications for public health practice?
In correctional and detention facilities, broad-based SARS-CoV-2
testing provides a more accurate assessment of disease

prevalence than does symptom-based testing and generates
data that can potentially help control transmission.

!CDC: *Emory University Rollins School of Public Health, Adanra, Georgia;
$3Morehouse School of Medicine, Adanta, Georgia: *Federal Bureau of Prisons,
Washington, DC; >California Correctional Health Care Services: “Orange
County Health Care Agency, Santa Ana, Californias “Colorado Department
of Public Health and Environment; 8Colorado Department of Corrections:
°Ohio Department of Health; !"Epidemic Intelligence Service. CDC; |! Ohio
Department of Rehabilitation and Correction; '*Brown University Department
of Family Medicine. Providence, Rhode Island; !SHarris County Sheriff's Office,
Houston, Texas: '4Houston Health Department, | louston, Texas.

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Notes from the Field

 

COVID-19 Prevention Practices in State Prisons —
Puerto Rico, 2020

Elizabeth Davlantes, MD!; Mayra Toro, MS?; Raul Villalobos, MD3;
Liliana Sanchez-Gonzalez, MD!

As of August 17, 2020, the Puerto Rico Department of Health
had reported 11,723 confirmed cases of coronavirus disease 2019
(COVID-19), 15,037 probable cases, and 335 deaths. Among
persons incarcerated in state prisons, a high-risk congregate set-
ting, only two COVID-19 cases and no associated deaths had
been reported* (/). These results followed implementation in
mid-March of a protocol (2) for the diagnosis, management,
and prevention of COVID-19 in all Puerto Rico Department of
Correction and Rehabilitation prisons based on CDC’s interim
guidance on management of COVID-19 in correctional and
detention facilities (3). The protocol featured wide-ranging
measures, from visitor restrictions to enhanced cleaning; this
report focuses specifically on COVID-19 mitigation measures
directed toward incarcerated persons.

To minimize SARS-CoV-2 transmission from newly incar-
cerated persons, all state prison intakes in Puerto Rico now
occur at a single location, in the municipality of Bayamon. All
new intake procedures include SARS-CoV-2 reverse transcrip-
tion—polymerase chain reaction (RT-PCR) testing regardless
of symptoms. Asymptomatic persons awaiting test results are
cohorted in groups of no more than 20 in the intake area. If
everyone in the group tests negative for SARS-CoV-2, and all
remain asymptomatic during 14 days of quarantine, they are
released into the general prison population. Those who test
positive and those with any medical concerns are immediately
isolated and referred to the onsite medical facility. Ifany cohort
member tests positive for SARS-CoV-2, either from the intake
assessment or after becoming symptomatic in quarantine, the
entire cohort must restart the intake process.

Incarcerated persons who leave the prison grounds for any
reason (e.g., medical appointments or court appearances)
must restart the intake process upon their return. During
March 16—July 31, 2020, 1,340 persons entered Puerto Rico
Department of Correction and Rehabilitation prisons, and two
(0.1%) had positive SARS-CoV-2 RT-PCR test results. Both
patients were asymptomatic, and no persons in their cohorts

developed COVID-19.

* Four additional COVID-19 cases were identified in persons awaiting trial.

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The general prison population is separated into groups of
40-75 persons; these groups do not share common areas with
other persons in the facility. If any group member exhibits
COVID-19 symptoms, which are defined according to CDC
guidelines (4), the symptomatic person is isolated in the prison’s
medical facility, and the entire group is quarantined until the
symptomatic person receives a negative SARS-CoV-2 RT-PCR
result. There have been no suspected COVID-19 cases among
the general prison population.

In May 2020, SARS-CoV-2 serologic testing was offered to
all incarcerated adults using a point-of-care antibody test. This
was done to evaluate the prevalence of SARS-CoV-2 antibody
positivity in the prison population, particularly given the
low percentage of positive SARS-CoV-2 RT-PCR test results
among new arrivals. Among 8,619 adults tested, 31 (0.3%)
had immunoglobulin G antibodies, suggesting past infection,
and none had immunoglobulin M antibodies, indicating active
or recent infection.

Efforts to mitigate SARS-CoV-2 transmission, including
rigorous intake screening and cohorting, likely have helped pre-
vent an outbreak in the state prison population. Puerto Rico’s
measures to protect incarcerated persons from COVID-19
can serve as a case study in the successful implementation of
CDC's guidelines for correctional facilities, particularly the
prevention practices for incarcerated or detained persons (3).

Corresponding author: Mayra Toro, mtoro@salud.pr.gov.

ICDC; 2Puerto Rico Department of Health; 3Physician Correctional, San Juan,

Puerto Rico.

All authors have completed and submitted the International
Committee of Medical Journal Editors form for disclosure of potential
conflicts of interest. No potential conflicts of interest were disclosed.

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Racial and Ethnic Disparities Among COVID-19 Cases in Workplace Outbreaks
by Industry Sector — Utah, March 6-June 5, 2020
David P. Bui, PhD}-2; Keegan McCaffrey*; Michael Friedrichs, MS?; Nathan LaCross, PhD3; Nathaniel M. Lewis! 3; Kylie Sage, MS?;

Bree Barbeau, MPH3; Dede Vilven, MPH4; Carolyn Rose, MPH»; Sara Braby®; Sarah Willardson, MPH’; Amy Carter’; Christopher Smoot, MPH?;
Andrea Winquist, MD, PhD?; Angela Dunn, MD?

On August 17, 2020, this report was posted as an MMWR Early
Release on the MMWR website (https://www.cdc.gov/mmwr).

Improved understanding of the overall distribution of work-
place coronavirus disease 2019 (COVID-19) outbreaks by
industry sector could help direct targeted public health action;
however, this has not been described. The Utah Department
of Health (UDOH) analyzed COVID-19 surveillance data
to describe workplace outbreaks by industry sectors. In this
report, workplaces refer to non—-health care, noncongre-
gate—living, and noneducational settings. As of June 5, 2020,
UDOH reported 277 COVID-19 outbreaks, 210 (76%) of
which occurred in workplaces. Approximately 12% (1,389 of
11,448) of confirmed COVID-19 cases in Utah were associ-
ated with workplace outbreaks. The 210 workplace outbreaks
occurred in 15 of 20 industry sectors;* nearly one half of all
workplace outbreaks occurred in three sectors: Manufacturing
(43; 20%), Construction (32; 15%) and Wholesale Trade (29;
14%); 58% (806 of 1,389) of workplace outbreak-associated
cases occurred in these three sectors. Although 24% of Utah's
workforce in all 15 affected sectors identified as Hispanic or
Latino (Hispanic) or a race other than non-Hispanic white
(nonwhite?) (7), 73% (970 of 1,335) of workplace outbreak-
associated COVID-19 cases were in persons who identified as
Hispanic or nonwhite. Systemic social inequities have resulted
in the overrepresentation of Hispanic and nonwhite workers
in frontline occupations where exposure to SARS-CoV-2,
the virus that causes COVID-19, might be higher (2); extra
vigilance in these sectors is needed to ensure prevention and
mitigation strategies are applied equitably and effectively to

*The 20 industry sectors include Agriculture, Forestry, Fishing and Hunting;
Mining, Quarrying, and Oil and Gas Extraction; Utilities; Construction;
Manufacturing; Wholesale Trade; Retail Trade; Transportation and
Warehousing; Information; Finance and Insurance; Real Estate and Rental and
Leasing; Professional, Scientific, and Technical Services; Management of
Companies and Enterprises; Administrative and Support and Waste
Management and Remediation Services; Educational Services; Health Care and
Social Assistance; Arts, Entertainment, and Recreation; Accommodation and
Food Services; Other Services (except Public Administration); and Public
Administration (https://www.census.gov/eos/www/naics/). No workplace
outbreaks were reported in the following sectors: Agriculture, Forestry, Fishing
and Hunting; Mining, Quarrying, and Oil and Gas Extraction; Utilities;
Management of Companies and Enterprises; and Educational Services.

t Nonwhite includes the following (all non-Hispanic): black or African American,
American Indian or Alaska Native, Asian, Native Hawaiian or Other Pacific
Islander, two or more races, or other race groups.

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workers of racial and ethnic groups disproportionately affected
by COVID-19. Health departments can adapt workplace guid-
ance to each industry sector affected by COVID-19 to account
for different production processes and working conditions.

Data on workplace COVID-19 outbreaks occurring dur-
ing March 6—-June 5, 2020, were collected from UDOH'’s
COVID-19 case surveillance system. UDOH defined work-
place outbreaks as the occurrence of two or more laboratory-
confirmed COVID-19 cases occurring within the same 14-day
period among coworkers in a common workplace (i.e., same
facility). UDOH classifies outbreaks in congregate living
facilities, educational institutions, and health care facilities
as distinct outbreak types that are managed differently from
general workplace outbreaks because of the special populations
they serve and the setting-specific guidance they require. Thus,
cases from these settings were not included in this analysis
of workplace outbreaks. Case investigators collected facility
addresses, business names, or both for all workplace outbreaks.
Workplaces were classified according to the North American
Industry Classification System (NAICS; https://www.census.
gov/eos/www/naics/) into one of 20 industry sectors. NAICS
codes for workplaces were obtained from Utah's Division of
Corporations and Commercial Code directory of registered
businesses (https://secure.utah.gov/bes/). Because of small case
numbers and similarities in sector processes and settings, the
sectors for Professional, Scientific, and Technical services and
Information were combined into a single category, as were the
Finance and Insurance, Real Estate and Rental and Leasing,
and Public Administration sectors.

The distribution of workplace outbreaks and associated cases
across sectors was described. Outbreak incidence (cases per
100,000 workers) was calculated using Utah sector workforce
estimates reported in the 2019 Census Quarterly Workforce
Indicators (7) for sector denominators; workforce estimates
were not adjusted to remove workers affected by outbreaks in
excluded settings (e.g., educational workers and health care
workers). Descriptive statistics and chi-squared tests were used
to summarize and compare demographics and outcomes (e.g.,
hospitalization) of persons with workplace outbreak-associated
COVID-19 with persons of working age (215 years) with
nonoutbreak—associated COVID-19 (i.e., cases not associated
with an outbreak). To identify sectors in which COVID-19

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racial and ethnic disparities might be unrecognized, the racial
and ethnic composition of workplace outbreak-associated cases
were compared with the overall racial and ethnic composition
in each sector in Utah. All statistical analyses were done in
R (version 3.6.1; The R Foundation); p-values <0.05 were
considered statistically significant.

During March 6—-June 5, 2020, UDOH reported 11,448
confirmed COVID-19 cases throughout Utah, including
1,389 (12%) associated with workplace outbreaks, 1,081 (9%)
associated with outbreaks in other settings (i.e., congregate liv-
ing, educational, health care), and 8,978 (78%) that were not
associated with an outbreak. UDOH reported 210 workplace
COVID-19 outbreaks (median cases per workplace outbreak = 4;
range = 2—79) involving 15 industry sectors, most frequently
in Manufacturing (43; 20%), Construction (32; 15%), and
Wholesale Trade (29; 14%); these three sectors accounted for
58% (806 of 1,389) of workplace outbreak-associated cases
(Table 1). The incidence among workplace outbreak-associated
cases was highest in the Wholesale Trade (377 per 100,000
workers) and Manufacturing (339 per 100,000 workers) sectors.

Compared with persons aged 215 years with nonoutbreak—
associated COVID-19 (median age = 38 years), persons
with workplace outbreak-associated COVID-19 were older
(median age = 41 years) (Mann-Whitney test, p = 0.01),
more likely to identify as Hispanic (56.4% versus 39.8%;
p <0.001), and more likely to be male (61.4% versus 50.6%;
p <0.001) (Table 2). The proportion of patients hospital-
ized was significantly lower among persons with workplace
outbreak-associated COVID-19 (6.1%) than among those
with nonoutbreak—associated COVID-19 (7.6%) (p = 0.01).

Among persons with workplace outbreak-associated
COVID-19, information on race and ethnicity was available
for 1,335 (96%); 783 (59%) workers with workplace outbreak-
associated COVID-19 identified as Hispanic, 365 (27%) as
non-Hispanic white, and 187 (19%) as nonwhite. In total,
970 (73%) of persons with workplace outbreak-associated
COVID-19 identified as Hispanic or nonwhite, although these
ethnic/racial groups represent <24% of Utah's workforce in the 15
affected industry sectors (1). This disparity was observed across all
15 industry sectors with the largest in Wholesale Trade (percentage
point difference between percentage of Hispanic or nonwhite
workers among workplace outbreak-associated COVID-19 cases
and the overall workforce = 58) and Manufacturing (percentage
point difference = 53) sectors (Figure).

Discussion
During March 6—June 5, COVID-19 outbreaks were

identified in nearly all assessed industry sectors in Utah, with
approximately one half of workplace outbreak-associated cases
occurring in three sectors: Manufacturing, Construction, and

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Wholesale Trade. Persons with workplace outbreak-associated
COVID-19 were disproportionately Hispanic or nonwhite
compared with overall racial/ethnic distributions in these
industry sectors. Sector-specific COVID-19 guidance, which
CDC has generated for many industries,S-** should be
followed to account for different production processes, busi-
ness operations, and working conditions faced by workers in
these sectors. When available, efforts should be made to help
employers operationalize sector-specific guidance; CDC and
UDOH plain-language business guides can help employers
manage and prevent workplace outbreaks and exposures.'t
Avoiding introduction of SARS-CoV-2 into workplaces is
critical to preventing outbreaks, making both community- and
workplace-specific interventions important if SARS-CoV-2
transmission in workplace settings is to be prevented. Health
departments and employers need to ensure mitigation strate-
gies are provided using culturally and linguistically responsive
materials and messages, which reach workers of racial and
ethnic minority groups, especially those disproportionately
affected by workplace COVID-19 outbreaks.

The racial and ethnic disparities in workplace outbreak-asso-
ciated COVID-19 cases found in Utah and identified in meat
processing facility outbreaks in other states (3) demonstrate a
disproportionate risk for COVID-19. These disparities might
be driven, in part, by longstanding health and social inequi-
ties (2), resulting in the overrepresentation of Hispanic and
nonwhite workers in frontline occupations (i.e., essential and
direct-service) where risk for SARS-CoV-2 exposure might be
higher than that associated with remote or nondirect—service
work (4). In addition, Hispanic and nonwhite workers have less
flexible work schedules and fewer telework options compared
with white and non-Hispanic workers (5). Lack of job flex-
ibility (i.e., ability to vary when to start and end work), lack
of telework options, and unpaid or punitive sick leave policies
might prevent workers from staying home and seeking care
when ill, resulting in more workplace exposures, delayed treat-
ment, and more severe COVID-19 outcomes (6,7). Whenever
employers can provide flexible work schedules, nonpunitive
paid sick leave, and telework options, they should offer this
equitably to Hispanic and nonwhite workers.

The findings in this report are subject to at least six limita-
tions. First, this analysis is not representative of all workplace
outbreaks in Utah. Outbreaks might not be detected or

S https://www.cdc.gov/coronavirus/2019-ncov/community/organizations/
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Morbidity and Mortality Weekly Report

TABLE 1. Distribution of workplace outbreaks and workplace-associated COVID-19 cases, by North American Industry Classification System
(NAICS) industry sector, and demographic characteristics of persons with workplace-associated COVID-19 and their outcomes —

Utah, March 6—-June 5, 2020

 

Workers, outbreaks, and cases

Characteristic

 

 

 

no. (%) Workplace no. (%)
Workplace outbreak-
NAICS industry Workplace outbreak- associated Hispanicor Admitted to Severe
sector code Industry sector Workforce* outbreaks associatedcases incidencet nonwhite hospital? outcomes’
Overalltotal — 1,305,130 (100) 210 (100) 1,389 (100) 106.4 970/1,335 (73) 85/1,382(6) 40/1,155 (3)
31-33 Manufacturing 137,579 (11) 43 (20) 467 (34) 339.4 365/444 (82) 25/464 (5) 12/464 (3)
42 Wholesale Trade 53,045 (4) 29 (14) 200 (14) 377.0 145/190 (76) 8/197 (4) 3/197 (2)
23 Construction 113,610 (9) 32 (15) 139 (10) 122.3 97/135 (72) 11/139 (8) 7/139 (5)
44,45 Retail Trade 169,559 (13) 28 (13) 116 (8) 68.4 78/113 (69) 5/116 (4) 1/116 (1)
56 Administrative, Support, and 95,878 (7) 9(4) 114 (8) 118.9 68/109 (62) 8/114 (7) 2/114 (2)
Waste Management
72 Accommodation and Food 128,983 (10) 25 (12) 100 (7) 775 78/97 (80) 7/100 (7) 7/100 (7)
Services
48, 49 Transportation and Warehousing 64,360 (5) 10 (5) 97 (7) 150.7 71/9476) 9/97 (9) 6/97 (6)
71 Arts, Entertainment, and 34,862 (3) 6 (3) 40 (3) 114.7 14/39 (36) 2/40 (5) 0/40 (0)
Recreation
51,54 Professional, Scientific, Technical, 151,275 (12) 9 (4) 47 (3) 31.1 20/46 (43) 5/47 (11) 2/47 (4)
and Information**
52, 53, 92 Finance, Real Estate, and Public 147,220 (11) 6 (3) 24 (2) 16.3 10/24 (42) 1/23 (4) 0/23 (0)
Administration**
81 Other Services (except Public 38,651 (3) 8 (4) 24 (2) 62.1 13/23 (57) 3/24 (13) 1/24 (4)
Administration)
62 Health Care and Social 170,108 (13) 5 (2) 21 (2) 12.3 11/21 (52) 1/21 (5) 0/21 (0)
Assistancett

 

Abbreviation: COVID 19 = coronavirus disease 2019.

* Based on U.S. Census Quarterly Workforce Indicators, Utah 2019 (third quarter). https://qwiexplorer.ces.census.gov/static/explore.html#x=0&g=0.
tT Cases per 100,000 workers. Estimated as workplace outbreak-associated COVID-19 cases per 100,000 workers in industry sector; does not include cases among

workers not part of a workplace outbreak.

§ Among cases with known race and ethnicity (n = 1,335); Hispanic includes Hispanic or Latino; nonwhite includes the following (all non-Hispanic): black or African
American, American Indian or Alaska Native, Asian, Native Hawaiian or Other Pacific Islander, two or more races, or other race groups.
1 Among cases with known hospitalization (n = 1,382) or severity status (n = 1,155); severe outcome defined as intensive care unit admission, mechanical ventilation,

or death.

** Because of small case numbers, Information (NAICS code 51) and Professional, Scientific, and Technical services (NAICS code 54) sectors were combined into a
single category; Finance and Insurance (NAICS code 52), Real Estate and Rental and Leasing (NAICS code 53), and Public Administration (NAICS code 92) sectors

were also combined into a single category.

tt The full name of this NAICS sector includes “Health Care"; however, because health care settings were not included in this analysis, they represent only social

assistance businesses.

reported in smaller workplaces, and workers with self-limiting
symptoms might not be tested. Outbreaks in nursing homes,
detention centers, and education settings were not included
in this analysis, and thus, the relative impact of COVID-19
in industry sectors represented by those workers were not
assessed. Second, worker-to-worker transmission could not be
confirmed; some workplace outbreak-associated cases will rep-
resent community and household transmission, or transmission
between coworkers outside of work (e.g., commuting to work
or social gatherings). Third, individual occupation data were
unavailable, so assumptions about the types of affected work-
ers (e.g., frontline workers) cannot be confirmed. Gathering
detailed individual occupation data during case investigations
might help inform more targeted risk-mitigation interven-
tions within sectors by identifying types of work and workers
at highest risk for SARS-CoV-2 infection. Fourth, the stay-
at-home directives in effect in Utah during the study period
likely differentially affected workplace attendance in different

US Department of Health and Human Services/Centers for Disease Control and Prevention

sectors (e.g., more telework in information than in construction
sectors); therefore, these findings might not be generalizable
to states with different restriction levels and sector workforce
distributions. Fifth, it is not known to what extent workers
in these sectors were familiar with, able, and willing to follow
guidance to prevent and reduce the spread of SARS-CoV-2.
Finally, workforce estimates used to calculate the outbreak
incidence rates by sector could not be adjusted to account for
workers in health care, educational, and congregate-living set-
tings that were excluded from this analysis, resulting in under-
estimated rates; outbreak incidence rates for the Educational
Services sector (NAICS code 61) and Health Care and Social
Services sector (NAICS code 62) were likely most affected by
this limitation.

Understanding the distribution of workplace outbreaks
across industry sectors can help health departments identify
and target industries where additional guidance and interven-
tion to mitigate SARS-CoV-2 transmission might be needed.

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TABLE 2. Characteristics of nonoutbreak-associated cases and workplace outbreak-associated cases of COVID-19 among persons aged
215 years — Utah, March 6-June 5, 2020.

 

 

 

Case status
no. (%)
Not outbreak-associated Workplace outbreak—associated
Characteristic (n = 8,297} (n= 1,389) P-value*
Age group, yrs <0.001
15-24 1,718 (20.7) 192 (13.8)
25-44 3,489 (42.1) 658 (47.4)
45-64 2,360 (28.4) 493 (35.5)
265 730 (8.8) 46 (3.3)
Race/Ethnicity <0.001
Hispanic or Latino 3,303 (39.8) 783 (56.4)
White, non-Hispanic 2,972 (35.8) 365 (26.3)
Native Hawaiian or Pacific Islander, non-Hispanic 317 (3.8) 61 (4.4)
Asian, non-Hispanic 194 (2.3) 42 (3.0)
Black or African American, non-Hispanic 247 (3.0) 38 (2.7)
American Indian or Alaska Native, non-Hispanic 309 (3.7) 13 (0.9)
Other, non-Hispanic 237 (2.9) 33 (2.4)
Missing 718 (8.7) 54 (3.9)
Ethnicity . <0.001
Non-Hispanic 4,279 (51.6) 552 (39.7)
Hispanic 3,303 (39.8) 783 (56.4)
Missing 715 (8.6) 54 (3.9)
Sex <0.001
Female 4,088 (49.3) 536 (38.6)
Male 4,199 (50.6) 853 (61.4)
Missing 10 (0.1) 0 (0)
Any chronic condition 0.24
Yes 2013 (24.3) 318 (22.9)
No 1698 (20.5) 298 (21.5)
Missing 4586 (55.3) 773 (55.7)
Hospitalized 0.01
Yes 630 (7.6) 85 (6.1)
No 7,136 (86.0) 1,297 (93.4)
Missing 531(6.4) 7 (0.5)
Severe outcomet 0.74
Yes 217 (2.6) 40 (2.9)
No . 5,618 (67.7) 1,115 (80.3)
Missing 2,462 (29.7) 234 (16.8)
{CU admission 0.94
Yes 195 (2.4) 36 (2.6)
No 7,497 (90.4) 1,341 (96.5)
Missing . 605 (7.3) 12 (0.9)
Mechanical ventilation 0.78
Yes 84 (1.0) 14 (1.0)
No 7,111 (85.7) 1,339 (96.4)
Missing 1,102 (13.3) 36 (2.6)
Died 0.61
Yes 59 (0.7) 9 (0.6)
No 5,947 (71.7) 1,153 (83.0)
Missing 2,291 (27.6) 227 (16.3)

 

Abbreviations: COVID-19 = coronavirus disease 2019; ICU = intensive care unit.

* P-values based on chi-squared tests and excludes missing categories; level of significance = p<0.05.

tT Persons with COVID-19 were classified as having a severe outcome if they were admitted to an ICU, required mechanical ventilation, or died; they were classified as
not having a severe outcome if they were not admitted to an ICU, did not require mechanical ventilation, and did not die.

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Summary

What is already known about this topic?

COVID-19 outbreaks occur within various workplaces.
What is added by this report?

During March 6-June 5, 2020, workplace outbreaks occurred in 15
Utah industry sectors; 58% of workplace outbreak-associated
COVID-19 cases were in three sectors: Manufacturing, Wholesale
Trade, and Construction. Despite representing 24% of Utah workers
in ail affected sectors, Hispanic and nonwhite workers accounted for
73% of workplace outbreak-associated COVID-19 cases.

What are the implications for public health practice?

Sector-specific COVID-19 guidance should be followed. Mitigation
strategies should be culturally and linguistically responsive to
racial/ethnic minority workers disproportionately affected by
COVID-19. Collection of detailed case occupation data is needed to
understand types of work where exposure risk is highest.

Further, health departments should consider obtaining case
occupation data to better understand workplace outbreaks to
inform more targeted interventions. The overrepresentation of
Hispanic and nonwhite workers in frontline occupations has

resulted in disproportionate disease incidence among racial/
ethnic minority groups. Care must be taken to ensure that
prevention and mitigation strategies are applied equitably
and effectively using culturally and linguistically responsive
materials, media, and messages to workers of racial and ethnic
minority groups disproportionately affected by COVID-19.

Acknowledgments

Utah's local county health department case investigators and
COVID-19 surveillance staff members; COVID-19 task force and
clearance reviewers, CDC.

Corresponding author: David Bui, pgz2@ecdc. gov.

‘Epidemic Intelligence Service, CDC: Division of Environmental Health
Science and Practice, National Center for Environmental Health, CDC; #Utah
Department of Health, Salt Lake City, Utah; 4Salt Lake County Health
Department, Salt Lake City, Utah; "Summit County Healrh Department, Park
Ciry. Utah: °Southeasr Utah Health Department, Price, Utah; “Davis County
Health Department, Clearfield, Utah; ’Weber-Morgan Health Department,
Ogden, Urah; ?Wasatch County Health Department, Heber, Utah.

All authors have completed and submitted the International
Comittee of Medical Journal Editors form for disclosure of potential
conflicts of interest. No potential conflicts of interest were disclosed.

FIGURE. Percentage point difference* between the percentage of workers with workplace outbreak-associated COVID-19 who are Hispanic/Latino
and nonwhite? and the percentage of Hispanic/Latino and nonwhite workers within the entire industry workforce,® by industry sector" — Utah,

March 6-June 5, 2020

 

 

 

 

 

 

 

 

 

 

 

 

Wholesale Trade + =
Manufacturing 4 | a
Transportation and Warehousing ~ a—
Accommodation and Food Services & x
ts Retail Trade + a
v Construction =
Ww
> Other Services 4 o
a
z Health Care and Social Assistance ~ Le
= Administrative, Support, and Waste Management ——— Workplace outbreak cases
Professional, Scientific, Technical, and information - _ m Overall industry workforce
Finance, Real Estate, and Public Administration | ae!
Arts, Entertainment, and Recreation 4 ———_-..
All affected industries 4
T qT 1 t q T qT 1 t
0 10 20 30 40 50 60 70 80 90 100

Percentage of Hispanic/Latino and nonwhite workers

Abbreviation: COVID-19 = coronavirus disease 2019.

* Sectors are sorted on absolute disparity between the percentage of Hispanic/Latino and nonwhite workers among workplace outbreak cases and the percentage
of Hispanic/Latino and nonwhite workers in the overall industry workforce, in descending order.

T Nonwhite includes the following (all non-Hispanic): black or African American, American Indian or Alaska Native, Asian, Native Hawaiian or Other Pacific tslander,
two or more races, or other race groups.

5 Sector workforce demographics from U.S. Census Quarterly Workforce Indicators, Utah 2019 {third quarter); https://qwiexplorer.ces.census.gov/static/explore.html,

4 Industry sectors are based on the North American industry Classification System (https://www.census.gov/eos/www/naics/}. Because of small case numbers and
similarities in sector processes and settings, Professional, Scientific, and Technical Services and Information sectors were combined into a single category, as were
Finance and insurance, Real Estate, Rental and Leasing, and Public Administration.

US Department of Health and Human Services/Centers for Disease Control and Prevention
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CONSENT FOR SARS-CoV-2 TESTING

The U.S. Centers for Disease Control and Prevention (CDC) is providing BOP with technical assistance for a BOP
project intended to understand more about COVID-19 transmission and the protective behaviors and practices
taken within correctional and detention facilities. You are invited to participate voluntarily in this project
regarding COVID-19 transmission. Participation should take no more than 15 minutes of your time.

This project has two parts. First, we invite you to respond to a brief questionnaire including general information
about yourself. The questionnaire should take no more than 10 minutes of your time.

Second, we will ask to conduct a nasopharyngeal swab test for SARS-CoV-2, the virus that causes COVID-19 |
illness. The test should take no more than 5 minutes of your time to complete. Risks of the procedure include
mild discomfort, and possibly nose bleeding or dizziness. The results of the nasopharyngeal swab will be shared
with BOP medical staff within 3 to 5 days. Test results will be shared back with you by appropriate BOP staff.

Participation in this project is voluntary. Testing results, demographic, and health information will be sent to the
Arkansas Department of Health.

For any questions or concerns, contact eocevent206@cdc.gov with the subject line “Forrest City BOP.”

By signing below, you are agreeing to participate in this project.

 

Printed name

 

Signature

 

Reg #

 

Date

EXWVET 2
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CONSENTIMIENTO INFORMADO PARA EL VIRUS QUE CAUSA EL COVID-19

Los Centros para el Control y la Prevencién de Enfermedades (CDC) estan a brindar asistencia técnica a ta
agencia federal de prisiones para una investigacién de brotes destinada a comprender la transmisi6n de COVID-
19 en los centros correccionales y de detencién. Usted esta invitado a participar voluntariamente. Su
participacion no Ilevara mas de 15 minutos.

El proyecto tiene dos partes. En la primera parte, lo invitamos a responder un breve cuestionario con
informacién general. El cuestionario no Ilevara mas de 10 minutos.

En la segunda parte, le invitamos a hacerse la prueba para deteccién del virus que causa COVID-19. Se toma
una muestra de la nariz. La prueba no debe tomar mas de 5 minutos. Los riesgos de la prueba son minimos.
Puede sentir una leve incomodidad y posiblemente puede salir un poco de sangre de la nariz. Los resultados se
compartiran con el personal médico dentro de 3 a 5 dias. Los resultados de las pruebas seran compartidos con
usted por el personal apropiado de la agencia federal de prisiones.

Su participacion es voluntaria. Los resultados de las pruebas, la informacidn demografica y de salud se enviaradn
al Departamento de Salud de Arkansas.

Si tiene cualquiera pregunta, comuniquese con eocevent206@cdc.gov con el asunto “Forrest City BOP".

Al firmar a continuacion, acepta participar en esta investigacién de brotes.

 

Nombre

 

Firma

 

Numero de registro

 

Fecha
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/FCC FORREST CITY
INMATE BULLETIN

 

 

 

COVID19 UPDATE

In the spirit of open and honest communication | wanted to inform each of you that inmates
have recovered from COVID-19 will be returning to the housing units in the coming days.
Rest assured your fellow inmates are no longer sick and have met all Center for Disease
Control (CDC) criteria to be released from isolation. Someone who has completed
quarantine or been released from isolation does not pose a risk of infection to other people.
Our medical personnel has even incorporated an additional 14 days past CDC guidance to
ensure the inmates have recovered and to help protect your health.

The guidelines we have implemented for release are actually stricter that what the
community is following. As you can imagine they are ready to return to the housing units
and we appreciate your cooperation and understanding as they move back in. Please
continue to practice social distancing, wear your cloth face covering, wash your hands

frequently, and sleep head-to-foot.

Together, we will get through this!

budhyye Kenan y (2920

DeWayne Hendrix, Complex Warden Date

 

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FCC FORREST CITY
INMATE BULLETIN

 

COVID19 UPDATE

At the onset of COVID-19, we partnered with an outside resource to respond to cases of
COVID-19 at FCC Forrest City. The outside resource assessed our planning, preparation and
initial responses to COVID-19 within FCC Forrest City. Recommendations were given to the
staff and adhered to immediately thereafter.

A second visit with the outside source was conducted on April 21, 2020, to analyze the
various aspects of transmission and examine testing strategies that might be useful in
slowing transmission in a correction setting.

Plan moving forward:

Based on the visits, the outside resource established procedures to sample three (3) test
pods (STRICTLY VOLUNTARY) at the low component in order to understand the spread of
COVID-19 on the compound, beginning April 30, 2020. The pods were chosen based on:

The number of persons incarcerated who have tested positive on the compound; and
The number of persons incarcerated within the pods; and

The pods with the highest number of persons incarcerated who have chronic health
conditions.

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DeWayne Hend rix, Complex Warden Date

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U.S. Department of Justice
Federal Bureau of Prisons

Federal Correctional Complex

 

 

May 7, 2020

MEMORANDUM FOR ALL LOW COMPONENT INMATES

Iwi upe Herdery

FROM: DeWayne Hendrix, Complex Warden
SUBJECT: Asymptomatic Inmate COVID-19 Testing

Thanks for your continued patience and cooperation as we manage
the COVID-19 pandemic. Unfortunately, there has been an
increased number in inmate cases within the Federal Bureau of
Prisons, and more specifically at the low component.

As each of you are aware, we began asymptomatic inmate testing
at the low component last Wednesday evening in Marianna Alpha
Unit. In addition from April 30, 2020, through May 2, 2020,
several inmates in Marianna Delta, Wynne Bravo, and Helena Alpha
were also tested (asymptomatic) .

Once we received the test results, through consultation with our
Regional Medical Team we created an asymptomatic positive pod
(Wynne Bravo) and asymptomatic negative pods (Marianna Alpha and
Helena Alpha). All inmates who tested positive were moved to
Wynne Bravo and all inmates who were negative are now housed in
Marianna Alpha and Helena Alpha.

Our plan moving forward is to continue testing each pod and
create additional asymptomatic positive and asymptomatic
negative pods until we have tested the entire low component.
This strategy provides us with an opportunity to mitigate the
spread of COVID-19.

We will continue to conduct enhanced medical screenings daily to
include temperature checks and any inmate who becomes
symptomatic will be taken off the units, tested and placed in

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U.S. Department of Justice
Federal Bureau of Prisons

Federal Correctional Complex

 

 

May 29, 2020

MEMORANDUM FOR ALL LOW COMPONENT INMATES
duveyn Hebei
FROM: DeWayne Hgndrix, Complex Warden

SUBJECT: Update: Asymptomatic Inmate COVID-19 Testing

Thanks for your continued patience and cooperation as we manage
the COVID-19 pandemic.

Asymptomatic Inmate COVID-19 Testing

As each of you are aware the following pods have been designated
as asymptomatic positive and asymptomatic negative pods after
the Center for Disease Control and Prevention (CDC) and our
facility conducted mass asymptomatic COVID-19 testing for
inmates from May 12-15, 2020.

Asymptomatic Positive Pods
Wynne Alpha, Wynne Bravo, and Wynne Delta
Asymptomatic Negative Pods

Helena Alpha, Helena Bravo, Helena Charlie, Helena Delta,
Marianna Alpha, Marianna Bravo, and Marianna Charlie.

Yesterday an inmate from Wynne Charlie became symptomatic and
was tested for COVID-19. As a result this morning the health
services staff conducted cluster testing of inmates in Wynne
Charlie that were housed near that inmate and out of the eleven
tested, seven tested positive. The positive inmates will be
housed in Vo-Tech, and the negative inmates will be housed in
the Visiting Room.

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BOP Coronavirus (COVID-19) Update
May 11, 2020
Page 2

As a result of the high rate of inmates who tested positive this
morning, we will re-test the remainder of Wynne Charlie through
an outside lab. The specimens will be collected today, and
Wynne Charlie will now be designated as an isolation pod until
we receive the results of all inmates.

Additionally, earlier this morning an inmate from Marianna Alpha
pod became symptomatic and was tested positive for COVID-19. The
positive inmate will be housed in Vo-Tech.

As a result we will re-test the remainder of Marianna Alpha
through an outside lab. The specimens will be collected ‘Monday,
June 1, 2020, and Marianna Alpha will now be designated as an
isolation pod until we receive the results of all inmates.

I want to also reiterate the importance of wearing the face
coverings issued to you. As we continue mitigate the spread of
COVID-19, we will take the necessary administrative measures
when any inmate are not adhering to these requirements.

As I stated in my memorandum to each of you on May 18, 2020, we
will continue to conduct enhanced medical screenings daily to
include temperature checks and any inmate who becomes
symptomatic will be taken off the units, tested and placed in
the appropriate isolation area pending the final results of
their test.

Again, I realize this is a challenging situation, which is not
optimal and/or perfect. However, the ultimate objective is to
minimize the opportunity for COVID-19 exposure and infection
within our facility. I appreciate each of your perseverance.

Together we will get through this!

BX 2.
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4.
f « The Leadership
Conference

August 4, 2020

The Honorable Mitch McConnell The Honorable Charles Schumer
Majority Leader Minority Leader

United States Senate United States Senate

Washington, D.C. 20510 Washington, D.C. 20510

The Honorable Nancy Pelosi The Honorable Kevin McCarthy
Speaker Minority Leader

United States House of Representatives United States House of Representatives
Washington, D.C. 20515 Washington, D.C. 20515

Dear Majority Leader McConnell, Speaker Pelosi, Minority Leader Schumer, and Minority
Leader McCarthy:

On behalf of The Leadership Conference on Civil and Human Rights, the American Civil
Liberties Union, and the Federal Public and Community Public Defenders, we urge you to

include critical provisions to protect the health and safety of incarcerated individuals in the
COVID-19 response package currently being negotiated. The Leadership Conference is a
coalition charged by its diverse membership of more than 220 national organizations to promote
and protect civil and human rights in the United States; the American Civil Liberties Union is a
nationwide organization with more than 8 million members, activists, and supporters fighting
lirelessly in all 50 states, Puerto Rico, and Washington, D.C., to safeguard everyone’s rights; and
the Federal Public and Community Defenders is an organization that, at any given time,
represents the vast majority of individuals facing federal prosecution. While the Coronavirus
Aid, Relief, and Economic Security (CARES) Act expanded the Federal Bureau of Prison’s
(BOP) authority to release individuals to home confinement, BOP and the Department of Justice
(DOJ) have failed to exercise this authority. BOP and DOJ have been negligent in meeting
Congress’ charge to quickly and safely reduce the prison population and minimize the spread and
harm of COVID-19 for incarcerated persons and correctional staff. Therefore, more is urgently
required to address the alarmingly high infection rates occurring in correctional facilities across
the nation.

As Congress works to provide additional relief for individuals impacted by the pandemic, it has a
moral obligation to extend that relief to all of our most vulnerable — the elderly, the sick, those
without medical care, and those unable to protect themselves from the virus — including those
who are incarcerated. We urge you to prioritize the health and wellbeing of incarcerated people
and their families by incorporating the five recommendations outlined below in the next stimulus
package.

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August 4, 2020
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All of us are at risk of contracting COVID-19 and the more than 2.2 million individuals currently
incarcerated nationwide remain uniquely vulnerable. The unsanitary and overcrowded conditions
in correctional facilities make it nearly impossible to appropriately disinfect surfaces or socially
distance,! and access to quality medical care in many of these facilities has historically been
lacking.” Further, high rates of underlying health issues among incarcerated populations place
many individuals in custody in high-risk categories that make them more susceptible to
complications if they do contract the virus.? One study found that incarcerated individuals are
three times more likely to die and more than five times more likely to become infected than the
general population.’

As coronavirus cases continue to surge across the country, prisons and jails have emerged as
hotspots for outbreaks. Currently, the twelve largest known virus clusters are connected not to
hard-hit nursing homes or meatpacking plants, but to correctional institutions.> Between mid-
May and mid-June, the number of infections in prisons doubled and prison deaths increased by
73 percent. © More than 100,000 individuals in incarceration facilities have now contracted the
virus, and at least 800 incarcerated individuals and correctional staff have died as a result.” While
California state prisons and jails — which make up five of the twelve hotspots® — have recorded
more than 7,700 coronavirus cases as of July 30, some states with significantly smaller
incarcerated populations actually have similarly high infection rates.” For example, Kentucky’s
rate of 716 cases per 10,000 prisoners is actually slightly higher than California’s rate of 702.'°
Last month, BOP recorded the death of the 100" federal prisoner,!! and more are certainly to
come in the weeks ahead.

 

' See, e.g., Morse, D. and Jouvenal, J. (Apr. 10, 2020). Inmates sharing sinks, showers and cells say social
distancing isn't possible in Maryland prisons. THE WASHINGTON POST.
https:/Avww.washingtonpost.com/local/public-safety/inmates-sharing-sinks-showers-and-cells-say-social-
distancing-isnt-possible-in-maryland-prisons/2020/04/10/5b1d5ct8-79 13-11 ea-Sbee-cSbf9d2e3288 story hunt

2 See, e.g., Honderich, H. and Popat, S. (July 27, 2020). Coronavirus: Can this California prison save itself from
Covid-19? BBC NEWS. hitps://www.bbc.com/news/world-us-canada-53476208; Novak, K. (July 9, 2020). Inmates
Say Poor Conditions, Medical Care Continue at San Quentin. KCBS RADIO.
https://kcbsradio.radio.com/articles/inmates-say -poor-conditions-continue-at-san-quentin

3 U.S. Department of Justice, Office of Justice Programs, Bureau of Justice Statistics. (Oct. 4, 2016). Special Report:
Medical Problems of State and Federal Prisoners and Jail Inmates, 2011-12.
https:/Avww.bis.zov/content/pub/pdf/mpsfpjil112.pdf

4 Carissimo, J. (July 11, 2020). Inmates are 5 times more likely to get coronavirus than the general population, study
says. CBS NEWS. https://www.cbsnews.com/news/coronavirus-prison-inmates-more-likely-to-get-infected-study-
says/

5 Coronavirus in the U.S.: Latest Map and Case Count. (July 30, 2020). THE NEW YORK TIMES.
https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html#clusters

6 Williams, T., Seline, L., and Griesbach, R. (June 30, 2020). Coronavirus Cases Rise Sharply in Prisons Even as
They Plateau Nationwide. THE NEW YORK TIMES. https:/Avww.nvtimes.com/2020/06/16/us/coronavirus-inmates-
prisons-jails-html!

7 Coronavirus in the U.S.: Latest Map and Case Count. (July 30, 2020). THE NEW YORK TIMES.
hitps:/Avww.nytimes.com/interactive/2020/us/coronavirus-us-cases.html#clusters

® Coronavirus in the U.S.: Latest Map and Case Count. (July 30, 2020). THE NEW YORK TIMES.
https:/Avww.nytimes.com/interactive/2020/us/coronavirus-us-cases.html#clusters

° The Marshall Project. (July 30, 2020). A State-by-State Look at Coronavirus in Prisons.
hitps:/Avww.themarshallproject.org/2020/05/01/a-state-by-state-look-at-coronavirus-in-prisons

10 Ibid.

M Hymes, C. (July 28, 2020). Federal prisons reach grim milestone: 100 inmate deaths from coronavirus. CBS
NEWS. https://www.cbsnews.com/news/coronavirus- 100-federal-prison-inmates-covid-deaths/

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While these numbers are staggering, they almost certainly do not represent the actual number of
infected individuals given the low number of tests conducted. At the federal level, BOP reports
that it has completed testing for just 41,345 individuals as of August 4, despite overseeing a total
of over 142,315 individuals in both BOP-managed and community-based facilities.'* Similarly
low rates of testing have occurred in state facilities, where Centers for Disease Control and
Prevention (CDC) guidelines recommend testing only for symptomatic people and their close
contacts in most cases, despite widespread knowledge of asymptomatic spread.!? For example, as
of mid-June, state prison systems in Illinois, Mississippi, and Alabama had tested less than 2.5
percent of incarcerated individuals, and testing of approximately 3 percent of individuals
incarcerated in New York revealed that more than 40 percent were infected.'4 Failing to ensure
the safety of individuals in our prisons and jails is not only an abdication of our societal
responsibility to protect our most vulnerable, but a danger to our ability to effectively control the
spread of COVID-19 and limit the damage this pandemic will cause.

Congress must take immediate action to provide for the protection, release, and safe reentry of
incarcerated people. The actions taken in the last enacted stimulus package — the CARES Act
on March 27, 2020, were a welcome step, but are far from enough. Despite the additional
authority granted to it through the stimulus legislation, BOP has not meaningfully reduced its
prison population in response to the pandemic. It has instead adopted exceedingly narrow criteria
for determining individuals eligible for release,!° rendering the directive to “immediately
process” suitable candidates under the DOJ’s April 3 memorandum ineffective.!®

In the three weeks following that memo, BOP granted just 1,027 people home confinement, and
reduced its prison population by just 3,400 individuals in the month of April — a number that
falls below the pre-pandemic monthly average of 3,700 individuals despite including regularly
occurring releases.'” Fewer than 1,400 people were released from BOP-affiliated halfway houses
between April 2 and April 25,'* and fewer than 150 elderly or medically vulnerable prisoners

 

12 U.S. Department of Justice, Federal Bureau of Prisons. COVID-19 Coronavirus.
https:/Avww.bop.gov/coronavirus/

3 Williams, T., Seline, L., and Griesbach, R. (June 30, 2020). Coronavirus Cases Rise Sharply in Prisons Even as
They Plateau Nationwide, THE NEW YORK TIMES. hitps:/Avww.nytimes.com/2020/06/16/us/coronavirus-inmates-
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overview.html?CDC_AA_ ref Val=https%3A%2F%2F www.cdc.gov%2F coronavirus%2F2019-

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4 Williams, T., Seline, L., and Griesbach, R. (June 30, 2020). Coronavirus Cases Rise Sharply in Prisons Even as
They Plateau Nationwide. THE NEW YORK TIMES. https://www.nytimes.com/2020/06/16/us/coronavirus-inmates-
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15 Barr, L. and Mallin, A. (Apr. 24, 2020). DOJ clarifies federal inmate release guidance after conduction plagues
process. ABC NEWS. https://abcnews.20.com/US/doj-clarifies-federal-inmate-release-guidance-confusion-
plazues/slory ?7id=703 18981

16 Memorandum from the Attorney General, U.S. Department of Justice, to Director, Bureau of Prisons, U.S.
Department of Justice. (Apr. 3, 2020).

https:/Avww.bop.gov/coronavirus/docs/bop_memo_ home confinement april3 pdf

’ Neff, J. and Blakinger, K. (Apr. 25, 2020). Few Federal Prisoners Released Under COVID-10 Emergency
Policies. THE MARSHALL PROJECT. https:/Avww.themarshallproject.ore/2020/04/25/few-federal-prisoners-released-
under-covid-19-emergency-policies

'8 Ibid.

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were granted compassionate release prior to April 2.!° Now, more than four months after the
Attorney General’s initial March 26 memo to prioritize the use of “statutory authorities to grant
home confinement” to individuals at high-risk for COVID-19,7° BOP has continued to slow-walk
or fail to exercise its authority. It has released just 7,282 people to home confinement — a number
that appears to include regularly scheduled transfers in addition to those taken pursuant to

CARES Act authorities,?! and at least 25 individuals have died while their requests for sentence
reductions were pending with the Bureau.” Moreover, the Bureau has continued to actively work
against decarceration for individuals, opposing or not responding to 48 of the 50 compassionate
release cases decided in early July, and agreeing to release before court intervention in just two
cases.”

It is therefore absolutely critical that Congress act swiftly to address the issues facing
incarcerated individuals in the next COVID-19 relief package. At a minimum, such legislation
should include:

1. Provisions that will dramatically reduce pretrial and prison populations. Congress
should take action to ensure that additional individuals are being released, not detained,
during a public health crisis. This means final COVID-19 relief legislation should include
the Emergency Community Supervision Act (§191102 of the House-passed Health and
Economic Recovery Omnibus Emergency Solutions (HEROES) Act)(S. 3646), which
would mandate release or transfer to community supervision of individuals in federal
prison or pretrial detention who are most at risk to contracting the virus and experiencing
severe illness or death. The populations most at risk are those who are age 50 and older,
have underlying health conditions, or are pregnant.

Inclusion of the Emergency Community Supervision Act in the next relief bill would
prevent deaths like that of Andrea High Bear, a mother who died shortly after being
transferred from a jail in South Dakota to Carswell Federal Medical Center (FMC) in
Texas, just 28 days after giving birth via C-section while on a ventilator. The 30-year-old
member of the Cheyenne River Sioux Tribe in South Dakota was the first federally
incarcerated woman to die from COVID-19. Rather than learn from that tragedy, BOP
has permitted COVID-19 to rage at FMC Carswell: the facility now reports the second-
highest rate of infection in the BOP.

 

19 Thid.

2° Memorandum from the Attorney General, U.S. Department of Justice, to Director, Bureau of Prisons, U.S.
Department of Justice. (Mar. 26, 2020). https:/Avww.bop.gov/resources/news/pdfs/20200405_covid-

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21 U.S. Department of Justice, Federal Bureau of Prisons. COVID-19 Coronavirus.
https:/Avww.bop.gov/coronavirus/

22 Moyer, J.W., and Satija, N. (Aug. 3, 2020). Frail inmates could be sent home to prevent the spread of covid-19.
Instead, some are dying in federal prisons. THE WASHINGTON POST. https://www.washingtonpost.com/local/public-
safety/frail-inmates-could-be-sent-home-to-prevent-the-spread-of-covid-19-instead-some-are-dying-in-federal-
prisons/2020/08/02/992 fd484-b636-] 1 ea-9b0f-c797548c1154_ story.htm|?hpid=hp_ hp-top-table-
main_virusdeadinmates-12pm%3Ahomepage%2Fstory-ans

33 Ibid.

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The Emergency Community Supervision Act would also modify probation and
supervised release policies to be safer and less punitive and mandate the release of low-
level pretrial defendants on their own recognizance.

2. Amn expansion of court authority to release individuals in BOP Custody. Congress
should build upon the actions taken in the CARES Act by expanding the authority of
courts to order compassionate release and reduce sentences for individuals incarcerated in
the federal prison system. It should include in any relief package the COVID-19 Safer
Detention Act (S. 4034), which would clarify the authority of courts to order
compassionate release based on COVID-19 vulnerability, ensure that individuals
sentenced before 1987 may seek compassionate release, and reduce the amount of time
courts must wait before considering compassionate release motions during the
coronavirus crisis.

Additionally, any negotiated legislation should include §191103(a)(1)-(3) of the
HEROES Act, which would require courts to reduce the sentences of individuals most
vulnerable to COVID-19 who do not pose a danger to society. The term “covered health
condition” in that provision should be amended to cross-reference the CDC’s list of
individuals who might be at heightened risk of severe complications from COVID-19, in
addition to existing enumerated health conditions, to allow flexibility in the law as
medical understandings of COVID-19 continue to evolve.

3. Increases in the availability of home detention for elderly people. Our detention of
elderly and other high-risk individuals who pose no danger was already inhumane and
unhealthy but has become even more so amid the coronavirus pandemic. Over a quarter
of the people who have died from COVID-19 while in BOP’s care were seventy years or
older.“ Legislation should include provisions of the COVID-19 Safer Detention Act that
improve and expand eligibility criteria for the First Step Act’s Elderly Home Detention
Pilot program, which permits the transfer of certain elderly and terminally ill prisoners
from prison to home detention after serving a portion of their sentence.

4. Provisions that facilitate essential communication with counsel. Given the restrictions
on in-person activities put in place to address the coronavirus pandemic, it is imperative
that Congress include provisions in any legislation to ensure that individuals in custody
retain the ability to speak with their attorneys confidentially and as necessary. The
Effective Assistance of Counsel in the Digital Era Act (H.R. 5546) should be included in
relief legislation to direct the Attorney General to put in place an electronic
communication system for persons in federal custody that ensures confidential
communication between attorneys and clients.

 

*4 Sentencing Resource Counsel for the Federal Public and Community Defenders. (July 30, 2030). The Worsening

COVID-19 Crisis in Federal Detention.

https://Awww.fd.org/sites/default/files/covid19/bop jail policies and _information/2020 07 30 covid 19 in federal
detention src fact_sheet. v2.pdf

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5. Additional support at the federal, state, and local level to prevent, prepare for, and
respond to coronavirus. In the CARES Act, Congress provided $100 million in
emergency funding to the federal prison system to respond to COVID-19. In forthcoming
legislation, Congress should provide an additional $200 million to expand testing and
other medical services, the provision of personal protective equipment and hygiene
supplies, and sanitation services that are vital to maintaining the safety of the individuals
who remain incarcerated as well as correctional staff. Congress should adopt language
from the COVID-19 Correctional Facility Emergency Response Act (H.R. 6414/S. 3720),
which would establish a grant program within DOJ to facilitate reentry planning and
support and encourage correctional facility releases by states. Additional funding to
prevent and mitigate COVID-19 risks for justice-involved youth, to ensure free access to
COVID-19 testing, medical care, and sanitation for incarcerated and reentering
individuals, and to provide support to reentering individuals should also be provided.

Congress must take action to protect the health and safety of every individual in our communities
— including those who are incarcerated — in order to successfully slow the spread of COVID-
19 and put the United States on the road to recovery. We urge Congress to ensure that the most
vulnerable among us are not forgotten in the next coronavirus response package by including the
critical provisions outlined above to protect, release, and provide safe reentry for incarcerated
people.

If you have questions or concerns, please contact Sakira Cook, Director, Justice Reform
Program, The Leadership Conference on Civil and Human Rights, at cook@civilrights.org;
Kanya Bennett, Senior Legislative Counsel, ACLU, at kbennett@aclu.org: or Patricia Richman,
National Sentencing Resource Counsel, Federal Public and Community Defenders, at

Patricia Richman@fd.org.
Sincerely,
The Leadership Conference on Civil and Human Rights

American Civil Liberties Union
The Federal Public and Community Public Defenders

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Gabriel Canzalez
PO BOX 90": Low
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Forrest CITY, AR 72236
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